                    Case 21-00212                 Doc 1-2        Filed 01/08/21 Entered 01/08/21 14:43:12                             Desc
                                                                Schedules Page 1 of 80
 Fill in this information to identify the case
 Debtor name          The P.H.I. Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                          Check if this is an
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Fifth Third Bank                                              Checking account                    2   4   1     7                     $0.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                              $0.00


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
                     Case 21-00212             Doc 1-2      Filed 01/08/21 Entered 01/08/21 14:43:12                                   Desc
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Debtor       The P.H.I. Group, Inc.                                                        Case number (if known)
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
     Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $0.00               –                 $0.00                                   
                                                                                                    = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:             $142,999.39             –             $142,999.39                                 
                                                                                                    = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                $0.00


 Part 4: Investments

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes. Fill in the information below.
                                                                                            Valuation method                    Current value of
                                                                                            used for current value              debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                 % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

         Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
                  Case 21-00212                Doc 1-2     Filed 01/08/21 Entered 01/08/21 14:43:12                      Desc
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Debtor       The P.H.I. Group, Inc.                                                  Case number (if known)
             Name

     General description                         Date of the     Net book value of     Valuation method           Current value of
                                                 last physical   debtor's interest     used for current value     debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                  $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method           Current value of
                                                                 debtor's interest     used for current value     debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                  $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
                  Case 21-00212                Doc 1-2       Filed 01/08/21 Entered 01/08/21 14:43:12                    Desc
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Debtor       The P.H.I. Group, Inc.                                                     Case number (if known)
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                  $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                  $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
                   Case 21-00212                Doc 1-2     Filed 01/08/21 Entered 01/08/21 14:43:12                             Desc
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Debtor        The P.H.I. Group, Inc.                                                     Case number (if known)
              Name


 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 555 East Business Center Dr.
       Mount Prospect, IL 60056
       Lease of office building                       Lease                                                                               $0.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes

Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
                  Case 21-00212                Doc 1-2      Filed 01/08/21 Entered 01/08/21 14:43:12                     Desc
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Debtor       The P.H.I. Group, Inc.                                                      Case number (if known)
             Name


Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                  $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 6
                        Case 21-00212                      Doc 1-2            Filed 01/08/21 Entered 01/08/21 14:43:12                                            Desc
                                                                             Schedules Page 7 of 80
Debtor           The P.H.I. Group, Inc.                                                                              Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                    $0.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

                                                                                                       
88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.                      $0.00       +     91b.                  $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................   $0.00




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                             page 7
                    Case 21-00212              Doc 1-2       Filed 01/08/21 Entered 01/08/21 14:43:12                                Desc
                                                            Schedules Page 8 of 80
 Fill in this information to identify the case:
 Debtor name          The P.H.I. Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number                                                                                                      Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
                                                           subject to a lien

          Creditor's mailing address
                                                           Describe the lien


                                                           Is the creditor an insider or related party?
                                                            No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred                            No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent

             No                                              Unliquidated

             Yes. Specify each creditor, including this      Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                         $0.00


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
                   Case 21-00212              Doc 1-2       Filed 01/08/21 Entered 01/08/21 14:43:12                             Desc
                                                           Schedules Page 9 of 80
 Fill in this information to identify the case:
 Debtor              The P.H.I. Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number                                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the                 $108.32             $108.32
                                                                claim is: Check all that apply.
Collin Andrews
3336 MONTGOMERY DRIVE                                              Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
LAKE IN THE HILLS                     IL      60156             Wages
Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
IDOL wage claim - amount is claim vs paid amount


     2.2   Priority creditor's name and mailing address         As of the petition filing date, the               $1,585.23           $1,585.23
                                                                claim is: Check all that apply.
Juan Aranda
1419 N 23RD AVE                                                    Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
MELROSE PARK                          IL      60160             Wages
Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
IDOL wage claim - amount is claim vs paid amount




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                 Case 21-00212             Doc 1-2        Filed 01/08/21 Entered 01/08/21 14:43:12                        Desc
                                                        Schedules Page 10 of 80
Debtor      The P.H.I. Group, Inc.                                                   Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.3    Priority creditor's name and mailing address       As of the petition filing date, the                $199.42           $199.42
                                                            claim is: Check all that apply.
Mireya Mendoza
3842 W DIVERSEY                                                Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
CHICAGO                            IL      60647            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
IDOL wage claim - amount is claim vs paid amount


  2.4    Priority creditor's name and mailing address       As of the petition filing date, the               $3,280.39         $3,280.39
                                                            claim is: Check all that apply.
Pam Champney
961 DEERPATH DRIVE                                             Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
ANTIOCH                            IL      60002            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )

IDOL wage claim - amount is claim vs paid amount


  2.5    Priority creditor's name and mailing address       As of the petition filing date, the                $972.87           $972.87
                                                            claim is: Check all that apply.
Ray Perry
3 KAY CT                                                       Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
LAKE IN THE HILLS                  IL      60156            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )

IDOL wage claim - amount is claim vs paid amount




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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                                                        Schedules Page 11 of 80
Debtor      The P.H.I. Group, Inc.                                                   Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.6    Priority creditor's name and mailing address       As of the petition filing date, the                $728.31           $728.31
                                                            claim is: Check all that apply.
Salvador Torrres
1124 WILLSON DR                                                Contingent
                                                               Unliquidated
Apt 1                                                          Disputed

                                                            Basis for the claim:
DES PLAINES                        IL      60016            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
IDOL wage claim - amount is claim vs paid amount


  2.7    Priority creditor's name and mailing address       As of the petition filing date, the                $937.56           $937.56
                                                            claim is: Check all that apply.
Sara Roman
1821 N 34TH AVE                                                Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
STONE PARK                         IL      60165            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )

IDOL wage claim - amount is claim vs paid amount


  2.8    Priority creditor's name and mailing address       As of the petition filing date, the               $2,628.91         $2,628.91
                                                            claim is: Check all that apply.
Steven Losey
815 PEACHTREE CT                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
LAKE IN THE HILLS                  IL      60156            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )

IDOL wage claim - amount is claim vs paid amount




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
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                                                          Schedules Page 12 of 80
Debtor        The P.H.I. Group, Inc.                                                   Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $3,267.52
                                                                   Check all that apply.
ADT Commercial                                                      Contingent
P.O. Box 219044                                                     Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Kansas City                              MO       64121-9044       Trade debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $967.45
                                                                   Check all that apply.
Advertising Specialty Institute                                     Contingent
PO Box 15017                                                        Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Wilmington                               DE       19886-5017       Trade debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $142.11
                                                                   Check all that apply.
Agfa Corporation (fka Pitman)                                       Contingent
PO Box 2123                                                         Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Carol Stream                             IL       60132-2123       Trade debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                        $78.19
                                                                   Check all that apply.
Alan Crawford                                                       Contingent
2160 Royal Blvd                                                     Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Elgin                                    IL       60123            Trade debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




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   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $581.79
                                                                Check all that apply.
Alesco Data                                                      Contingent
5276 Summerlin Commons Way                                       Unliquidated
Suite 703                                                        Disputed
                                                                Basis for the claim:
Ft. Meyers                             FL       33907           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $12,000.00
                                                                Check all that apply.
ALG Worldwide Logistics                                          Contingent
745 Dillon Drive                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Wood Dale                              IL       60191           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Almeida Lamar                                                    Contingent
1054 Four Seasons Blvd                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Aurora                                 IL       60504           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $33,295.84
                                                                Check all that apply.
AmerLink Paper Sales                                             Contingent
112 Commons Court                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chads Ford                             PA       19317           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $341.28
                                                                Check all that apply.
Amy L. Fulton                                                    Contingent
632 Forestview Ave                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Park Ridge                             IL       60068           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $10,230.59
                                                                Check all that apply.
APC Postal Logistics                                             Contingent
PO Box 412                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
East Rutherford                        NJ       07073           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $80.29
                                                                Check all that apply.
Aramark Refreshment Services                                     Contingent
1851 Howard Street                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove                              IL       60007           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,924.16
                                                                Check all that apply.
Aramark Uniform Services                                         Contingent
25259 Network Place                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60673-1252      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $16,080.00
                                                                Check all that apply.
Arizona's Landscaping, Inc.                                      Contingent
PO Box 2878                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Glenview                               IL       60025           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $13,981.56
                                                                Check all that apply.
AT & T                                                           Contingent
PO Box 5019                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-5019      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $581.57
                                                                Check all that apply.
AT&T (BRIVO)                                                     Contingent
PO BOX 5080                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-5080      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $17,490.27
                                                                Check all that apply.
Atomatic Mechanical Services, Inc.                               Contingent
3733 N Ventura Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Arlington Heights                      IL       60004-7952      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $7,430.00
                                                                Check all that apply.
ATTS Logistics                                                   Contingent
P O Box 1058                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lake Zurich                            IL       60047           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $8,752.22
                                                                Check all that apply.
Bally Foil Graphics Inc                                          Contingent
1701 Elmhurst Road                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60007           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $566.70
                                                                Check all that apply.
Bearden Printing Services                                        Contingent
3256 Julie Lane                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Montogomery                            IL       60538           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,724.00
                                                                Check all that apply.
Best Cutting Die Company                                         Contingent
PO Box 92170                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60009           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $80,546.95
                                                                Check all that apply.
BHFX Digital Imaging                                             Contingent
80 W Seegers Rd                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Arlington Heights                      IL       60005           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $20,061.16
                                                                Check all that apply.
Binderyonics                                                     Contingent
1250 Greenleaf Ave.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60007           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,064.95
                                                                Check all that apply.
Blue Sky Marketing                                               Contingent
633 Skokie Blvd. STE                                             Unliquidated
STE 100LL                                                        Disputed
                                                                Basis for the claim:
Northbrook                             IL       60062           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,287.99
                                                                Check all that apply.
BM Trada Certification North America, In                         Contingent
239 New Road                                                     Unliquidated
Bldg B                                                           Disputed
Suite 207                                                       Basis for the claim:
Parsippany                             NJ       07054           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $48,000.00
                                                                Check all that apply.
BMF Properties LLC                                               Contingent
555 E. Business Center Drive                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mount Prospect                         IL       60056           Rent

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,026.65
                                                                Check all that apply.
Bottcher America Corporation                                     Contingent
PO Box 644956                                                    Unliquidated
attn: Linda Hanzlik                                              Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15264-4956      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Bryan T. Paul                                                    Contingent
39898 N. Harbor Ridge Dr.                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Antioch                                IL       60002           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,126.10
                                                                Check all that apply.
BSI Group America Inc.                                           Contingent
Dept CH 19307                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-9307      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $21,045.00
                                                                Check all that apply.
C.H. Robinson Worldwide Canada Ltd                               Contingent
P.O. Box 9121                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Minneapolis                            MN       55480-9121      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $682,258.50
                                                                Check all that apply.
Canon Financial Services, Inc.                                   Contingent
158 Gaither Drive                                                Unliquidated
Suite 200                                                        Disputed
Collections-legal dept                                          Basis for the claim:
Mount Laurel                           NJ       08054           Lease Agreement

Date or dates debt was incurred       7/31/2016                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes
5 digital print machines

  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $159,432.50
                                                                Check all that apply.
Canon Solutions America (fka Oce)                                Contingent
12379 Collections Center Drive                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $300.00
                                                                Check all that apply.
Cari Hemmerling                                                  Contingent
413 N Farilawn Ave                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mundelein                              IL       60060           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,589.15
                                                                Check all that apply.
Carlson Craft                                                    Contingent
1750 Tower Boulevard North                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mankato                                MN       56003           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,617.47
                                                                Check all that apply.
Carton Craft Supply, Inc.                                        Contingent
6840 Meadow Lane                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Alpharetta                             GA       30005           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $9,921.64
                                                                Check all that apply.
Case Paper Co, Inc.                                              Contingent
900 W. 45th Avenue                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60609           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,176.30
                                                                Check all that apply.
Cavalry Logistics International, Inc.                            Contingent
12755 E. Nine Mile Road                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Warren                                 MI       48089           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $9,217.05
                                                                Check all that apply.
CDW Computer Centers, Inc.                                       Contingent
P.O. Box 75723                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60675-5723      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.16
                                                                Check all that apply.
Cesar Rojas                                                      Contingent
510 ROBINHOOD DRIVE                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
STREAMWOOD                             IL       60107           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,232.93
                                                                Check all that apply.
CGS Publishing Technologies Internationa                         Contingent
100 N Sixth Street                                               Unliquidated
Suite 242A                                                       Disputed
                                                                Basis for the claim:
Minneapolis                            MN       55403           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,185.00
                                                                Check all that apply.
Champion Logistics Group                                         Contingent
200 Champion Way                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Northlake                              IL       60164           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,302.84
                                                                Check all that apply.
Charles H Luck Envelope, Inc.                                    Contingent
10551 Anderson Place                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Franklin Park                          IL       60131           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $760.00
                                                                Check all that apply.
Chicago Backflow, Inc                                            Contingent
12607 S. Laramie Ave.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Alsip                                  IL       60803           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $46,675.60
                                                                Check all that apply.
Chicago Dry TT, LLC                                              Contingent
9450 W. Bryn Mawr                                                Unliquidated
Suite 750                                                        Disputed
                                                                Basis for the claim:
Rosemont                               IL       60018           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,711.39
                                                                Check all that apply.
Chicago Laminating, Inc.                                         Contingent
125 Weiler Road                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Arlington Heights                      IL       60005           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.45     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Christine Westerwal                                              Contingent
2905 Willow Ln                                                   Unliquidated
Apt D5                                                           Disputed
                                                                Basis for the claim:
Zion                                   IL       60099           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.46     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,971.42
                                                                Check all that apply.
Cintas First Aid & Safety                                        Contingent
PO BOX 631025                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinnati                             OH       45263-1025      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.47     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $9,665.00
                                                                Check all that apply.
Citywide Printing                                                Contingent
420 Lee Street                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Des Plaines                            IL       60016           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.48     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $156.38
                                                                Check all that apply.
Collin Andrews                                                   Contingent
3336 MONTGOMERY DRIVE                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
LAKE IN THE HILLS                      IL       60156           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,903.56
                                                                Check all that apply.
Colorimage Inc.                                                  Contingent
461 N Milwaukee Ave                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60654           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $27,621.72
                                                                Check all that apply.
Constellation Energy Services Inc.                               Contingent
PO Box 19046                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Green Bay                              WI       54307-9046      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $395.67
                                                                Check all that apply.
Continental DataLabel                                            Contingent
P.O. Box 5440                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-5440      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $13,087.96
                                                                Check all that apply.
Corporate Disk Company                                           Contingent
PO Box 93                                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
McHenry                                IL       60051-0093      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $20,500.56
                                                                Check all that apply.
CRC Information Systems                                          Contingent
6750 Dumbarton Circle                                            Unliquidated
Attn: Divya Malhorta                                             Disputed
                                                                Basis for the claim:
Freemont                               CA       94555           Settlement Agreement

Date or dates debt was incurred       4/14/2015                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,577.07
                                                                Check all that apply.
Crown lift trucks                                                Contingent
P.O. BOX 641173                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinnati                             OH       45264-1173      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.55     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,707.80
                                                                Check all that apply.
Crown Services, INC Staffing Specialists                         Contingent
P.O. Box 734013                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60673           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.56     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,065.75
                                                                Check all that apply.
Cushing & Color Company                                          Contingent
213 W Institute Place                                            Unliquidated
Suite 200                                                        Disputed
                                                                Basis for the claim:
Chicago                                IL       60610-3196      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.57     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,300.40
                                                                Check all that apply.
D & K Group, Inc.                                                Contingent
PO Box 5441                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-5441      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.58     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Daniel Hollibaugh                                                Contingent
32 E MEDILL                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
NORTHLAKE                              IL       60164           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.59     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $80.00
                                                                Check all that apply.
David Shanahan                                                   Contingent
1651 Thornfield Court                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Roselle                                IL       60172           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.60     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,120.00
                                                                Check all that apply.
David Voght                                                      Contingent
1726 Ardwick                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Hoffman Estates                        IL       60195           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                Amount of claim

  3.61     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $5,627.24
                                                                 Check all that apply.
Delta Industries Inc.                                             Contingent
5235 Katrine Ave                                                  Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Downers Grove                           IL       60515-4010      Trade debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.62     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $5,142.50
                                                                 Check all that apply.
Diamond Healthcare Communications                                 Contingent
900 Kimberly Dr.                                                  Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Carol Sream                             IL       60018           Trade Debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.63     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $2,245.25
                                                                 Check all that apply.
Direct Envelope                                                   Contingent
PO BOX 7458                                                       Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Libertyville                            IL       60048           Trade debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.64     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $26,717.29
                                                                 Check all that apply.
DMS Packaging Services                                            Contingent
1201 Mark Street                                                  Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Elk Grove Village                       IL       60007           Trade debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.65     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $80.00
                                                                Check all that apply.
Douglas M. Gerritsen                                             Contingent
21999 PRINCETON CIRCLE                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
FRANKFORT                              IL       60423           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.66     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $27,216.00
                                                                Check all that apply.
Earthwise Bag Company, Inc.                                      Contingent
PO Box 59709                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Los Angeles                            CA       90074-9709      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.67     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $21,653.90
                                                                Check all that apply.
Eastman Kodak Company                                            Contingent
1778 Solutions Center                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60677-1007      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.68     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $8,114.43
                                                                Check all that apply.
Eastman Kodak Company(Nexpress)                                  Contingent
1778 Solutions Center                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60677-1007      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $13,356.33
                                                                Check all that apply.
Eclipse Mailing Services, Inc                                    Contingent
450 Tower Blvd                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60188-9427      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $984.74
                                                                Check all that apply.
Ecolab Pest Elimination                                          Contingent
26252 Network Place                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60673-1262      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,272.49
                                                                Check all that apply.
Electronics For Imaging                                          Contingent
PO Box 742366                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Los Angeles                            CA       90074-2366      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $218.46
                                                                Check all that apply.
Envelopes Only Inc.                                              Contingent
2000 Park Avenue                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Streamwood                             IL       60107           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.73     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $16,503.18
                                                                Check all that apply.
Excellent Bindery, Inc.                                          Contingent
500 Eastern Avenue                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60106           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.74     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $353.50
                                                                Check all that apply.
Express A Button                                                 Contingent
28458 Selke Road                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dakota                                 MN       55925           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.75     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,285.90
                                                                Check all that apply.
Federal Envelope Company                                         Contingent
608 Country Club Drive                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60106-2000      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.76     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $80,344.26
                                                                Check all that apply.
Federal Express Corp                                             Contingent
P.O. Box 94515                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60094-4515      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.77     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $700.00
                                                                Check all that apply.
FedEx Custom Critical                                            Contingent
P.O. Box 645123                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15264-5123      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.78     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $42,262.09
                                                                Check all that apply.
FedEx Freight                                                    Contingent
Dept CH PO Box 10306                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-0306      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.79     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,339.58
                                                                Check all that apply.
Fedex Trade Networks Canada Inc                                  Contingent
Box 916200                                                       Unliquidated
P.O. Box 4090                                                    Disputed
Station A                                                       Basis for the claim:
                                                                Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.80     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $10,641.46
                                                                Check all that apply.
Fort Dearborn Partners, Inc.                                     Contingent
190 S. LaSalle St.                                               Unliquidated
Suite 1650                                                       Disputed
                                                                Basis for the claim:
Chicago                                IL       60603           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,168.81
                                                                Check all that apply.
FujiFilm North America Corp                                      Contingent
850 Central Avenue                                               Unliquidated
Graphic Systems Division                                         Disputed
Attn: Reinette Carrico                                          Basis for the claim:
Hanover Park                           IL       60133           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,121.50
                                                                Check all that apply.
Fuse Buhl                                                        Contingent
P.O. Box 5450                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,315.04
                                                                Check all that apply.
Garvey's Office Products                                         Contingent
P.O. Box 5678                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-5678      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $25,092.00
                                                                Check all that apply.
Gene Goodwillie Company                                          Contingent
1820 N 30th Ave                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Melrose Park                           IL       60160           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,808.41
                                                                Check all that apply.
GLOBAL Equipment Company                                         Contingent
29833 Network Place                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60673-1298      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $122.46
                                                                Check all that apply.
Grace Printing & Mailing                                         Contingent
8130 N St. Louis Ave                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Skokie                                 IL       60076           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $21,458.43
                                                                Check all that apply.
Grafsolve LLC                                                    Contingent
1550 24th Street                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
North Chicago                          IL       60064           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $17,267.36
                                                                Check all that apply.
Graphic Arts Finishing Company                                   Contingent
1990 N. Mannheim Rd.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Melrose Park                           IL       60160           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.89     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,693.07
                                                                Check all that apply.
Graphics2000                                                     Contingent
161 Tower Drive                                                  Unliquidated
Unit A                                                           Disputed
                                                                Basis for the claim:
Burr Ridge                             IL       60527           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.90     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $162.50
                                                                Check all that apply.
Gray Matter Creative LLC                                         Contingent
1705 Olive Ln N Plymouth                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Plymouth                               MN       55447           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.91     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $160.00
                                                                Check all that apply.
Grodecki, Matthew                                                Contingent
845 Bermuda Dunes                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Northbrook                             IL       60062           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.92     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,607.69
                                                                Check all that apply.
Guardsman Laminating Inc.                                        Contingent
884 County Line Rd                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60065           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.93     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,449.28
                                                                Check all that apply.
H & H Graphics, LLC                                              Contingent
450 Corporate Woods Pkwy.                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Vernon Hills                           IL       60061-4117      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.94     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $405.00
                                                                Check all that apply.
Harris Bindery, LLC                                              Contingent
5375 Walnut Avenue                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Downers Grove                          IL       60515           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.95     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $113,851.65
                                                                Check all that apply.
Heidelberg USA, Inc.                                             Contingent
PO Box 5160                                                      Unliquidated
Carol Stream, IL                                                 Disputed
                                                                Basis for the claim:
                                                                Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.96     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $335,416.66
                                                                Check all that apply.
Hewlett Packard Financial Services Co,                           Contingent
200 Connell Drive                                                Unliquidated
Suite 5000                                                       Disputed
                                                                Basis for the claim:
Berkeley Heights                       NJ       07922           Lease Agreement

Date or dates debt was incurred       11/7/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes
HP Indigo 7900




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  3.97     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:          $1,083,257.46
                                                                Check all that apply.
Hewlett Packard Financial Services Co,                           Contingent
200 Connell Drive                                                Unliquidated
Suite 5000                                                       Disputed
                                                                Basis for the claim:
Berkeley Heights                       NJ       07922           Lease Agreement

Date or dates debt was incurred       11/7/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes
HP Indigo 12000

  3.98     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,563.30
                                                                Check all that apply.
HHS Baumer Group                                                 Contingent
10570 Success Lane                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dayton                                 OH       45458           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.99     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $28,627.76
                                                                Check all that apply.
Highform Paper Solutions                                         Contingent
401 Huehl Road                                                   Unliquidated
Suite 2A                                                         Disputed
                                                                Basis for the claim:
Northbrook                             IL       60062           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.100    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,752.40
                                                                Check all that apply.
Home & Office Improvements                                       Contingent
606 E Thomas St.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Arlington Heights                      IL       60004           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.101    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,650.00
                                                                Check all that apply.
Hood Packaging Corporation, a Nova Scoti                         Contingent
14051 Collections Center Drive                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.102    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $24,650.00
                                                                Check all that apply.
Hot Shot Expediting                                              Contingent
1405 W. Bernard Dr.                                              Unliquidated
Suite B1                                                         Disputed
                                                                Basis for the claim:
Addison                                IL       60101           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.103    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $96.00
                                                                Check all that apply.
Howard Burnett                                                   Contingent
1770 Provenance Way                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Northbrook                             IL       60062           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.104    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,757.54
                                                                Check all that apply.
Hydra-Vac, Inc.                                                  Contingent
35991 Hwy 21 North                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Gurnee                                 IL       60031           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.105    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,865.75
                                                                Check all that apply.
ICP Industrial Inc. - fka Nicoat                                 Contingent
PO Box 71937                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60694-1937      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.106    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,658.89
                                                                Check all that apply.
Illinois Dept of Revenue                                         Contingent
PO Box 19032                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Springfield                            IL       62794-9032      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.107    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $168.06
                                                                Check all that apply.
Illinois Tollway                                                 Contingent
2700 Ogden Avenue                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Downers Grove                          IL       60515           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.108    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,626.25
                                                                Check all that apply.
Imageworks Manufacturing                                         Contingent
49 South Street                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Park Forest                            IL       60466           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.109    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $141,074.88
                                                                Check all that apply.
Indigo America Inc                                               Contingent
PO Box 415573                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boston                                 MA       02241-5573      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.110    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $285.00
                                                                Check all that apply.
Innovative Marketing Consultants                                 Contingent
4284 Shoreline Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Spring Park                            MN       55384           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.111    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $99.00
                                                                Check all that apply.
InOut Labs                                                       Contingent
6449 Dempster St                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Morton Grove                           IL       60053           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.112    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,525.58
                                                                Check all that apply.
INSTANT COLLATING SERVICE INC.                                   Contingent
2443 W. 16th Street                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60608           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.113    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Jenelle Brodan                                                   Contingent
704 W Sheridan Road                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lakemoor                               IL       60051           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.114    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,024.96
                                                                Check all that apply.
Johnson Controls                                                 Contingent
10405 Crosspoint Blvd                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Indianapolis                           IN       46256           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.115    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $6,714.94
                                                                Check all that apply.
Jorson & Carlson Co, Inc.                                        Contingent
1501 Pratt Blvd.                                                 Unliquidated
P.O Box 796                                                      Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60007           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.116    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Juan Aranda                                                      Contingent
1419 N 23rd Ave                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Melrose Park                           IL       60160           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.117    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.00
                                                                Check all that apply.
Kevinn Rosero                                                    Contingent
366 N Central Ave                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Wood Dale                              IL       60191           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.118    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $13.95
                                                                Check all that apply.
Konica Minolta Business Solutions USA                            Contingent
Dept. CH 19188                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-9188      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.119    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $15,780.17
                                                                Check all that apply.
La Crosse Graphics, Inc                                          Contingent
3025 East Ave South                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
LaCrosse                               WI       54601           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.120    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $171.41
                                                                Check all that apply.
Label Tech Inc                                                   Contingent
2601 S. Walnut St                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Muncie                                 IN       47302           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.121    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $347.06
                                                                Check all that apply.
Laminations Unlimited                                            Contingent
1668 South Wolf Road                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Wheeling                               IL       60090           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.122    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,721.98
                                                                Check all that apply.
Larsen Envelope Co. Inc                                          Contingent
165 Gaylord Street                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60007           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.123    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $31,757.94
                                                                Check all that apply.
Lewis Paper Place, Inc.                                          Contingent
2300 Windsor Court                                               Unliquidated
Unit B                                                           Disputed
                                                                Basis for the claim:
Addison                                IL       60101-1491      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.124    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $25,287.50
                                                                Check all that apply.
Liberty Book & Bible Manufacturing Inc                           Contingent
901 E Maryland St                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Indianapolis                           IN       46202           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.125    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $146.22
                                                                Check all that apply.
Linda LaMendola                                                  Contingent
2438 Mallard Drive                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lindenhurst                            IL       60046           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.126    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $59,981.71
                                                                Check all that apply.
Lindenmeyr Munroe                                                Contingent
PO Box 99922                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60696-7722      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.127    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,024.00
                                                                Check all that apply.
Links Technology Solutions, Inc.                                 Contingent
440 E. State Parkway                                             Unliquidated
Suite 220                                                        Disputed
                                                                Basis for the claim:
Schaumburg                             IL       60173           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.128    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $7,900.00
                                                                Check all that apply.
M & S Rojas Landscaping Inc.                                     Contingent
4441 S. Sacramento                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60632           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.129    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,310.00
                                                                Check all that apply.
M.C. Mieth Manufacturing, Inc                                    Contingent
PO Box 291129                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Port Orange                            FL       32129           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.130    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,038.18
                                                                Check all that apply.
Madison Forms                                                    Contingent
4423 Triangle St.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
McFarland                              WI       53558           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.131    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Matt Deutsch                                                     Contingent
276 Cassidy Lane                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elgin                                  IL       60124-3812      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.132    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $80.00
                                                                Check all that apply.
Matthew LaCasse                                                  Contingent
1171 Ward Rd.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Batavia                                IL       60510           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.133    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $76.12
                                                                Check all that apply.
McMaster- Carr                                                   Contingent
P.O. Box 7690                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60680-7690      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.134    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $79.19
                                                                Check all that apply.
Meredith Wright                                                  Contingent
295 Noble Avenue                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lake Forest                            IL       60045           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.135    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $150.00
                                                                Check all that apply.
Michael Winans                                                   Contingent
200 Brookline Ave.                                               Unliquidated
Apt 716                                                          Disputed
                                                                Basis for the claim:
Boston                                 MA       02215           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.136    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $681,757.17
                                                                Check all that apply.
Midland Paper                                                    Contingent
101 E. Palatine Road                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Wheeling                               IL       60090           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.137    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $530.65
                                                                Check all that apply.
Motr Grafx                                                       Contingent
225 Larkin Drive                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Wheeling                               IL       60090           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.138    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,149.73
                                                                Check all that apply.
Nicor Gas                                                        Contingent
P.O. Box 5407                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-5407      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.139    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $37,077.91
                                                                Check all that apply.
Norkol                                                           Contingent
11650 West Grand Avenue                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Northlake                              IL       60164           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.140    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,340.00
                                                                Check all that apply.
Northshore Plumbing & Sewer Services Inc                         Contingent
2751 Mayfield Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Park Ridge                             IL       60068           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.141    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,098.52
                                                                Check all that apply.
NovaVision, Inc                                                  Contingent
524 East Woodland Circle                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bowling Green                          OH       43402           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.142    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $54,764.48
                                                                Check all that apply.
Nuwave Die Cutting & Finishing Ltd.                              Contingent
2733 West Harrison                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60612           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.143    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,160.00
                                                                Check all that apply.
O'HARA'S SON ROOFING CO                                          Contingent
6437 N Avondale ave                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60631           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.144    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $261.88
                                                                Check all that apply.
Ohio Graphco Inc. dba Graphco                                    Contingent
PO Box 72007                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cleveland                              OH       44192           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.145    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,771.63
                                                                Check all that apply.
On Time Messenger Service, Inc.                                  Contingent
PO Box 871                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60009           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.146    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,823.96
                                                                Check all that apply.
OPP. Franchising Inc. dba Jani-King of I                         Contingent
2791 Momentum Place                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60689-5327      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.147    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,079.00
                                                                Check all that apply.
Pallet Services Inc.                                             Contingent
PO Box 0846                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60106           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.148    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $23,216.06
                                                                Check all that apply.
Pamco Label Co Inc                                               Contingent
PO Box 1000 Dept 5                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Memphis                                TN       38148           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.149    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.14
                                                                Check all that apply.
Paul Noeska                                                      Contingent
2914 Avalon Ct                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elgin                                  IL       60124           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.150    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Paul Quartuccio                                                  Contingent
1626 Howard St                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Saint Charles                          IL       60174           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.151    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,567.68
                                                                Check all that apply.
Penske Truck Leasing Co., L.P.                                   Contingent
PO Box 802577                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60680-2577      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.152    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $80.00
                                                                Check all that apply.
Peter Meitzler                                                   Contingent
169 Crestview Court                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Barrington                             IL       60010           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.153    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $9,616.96
                                                                Check all that apply.
Phoenix Binding Corp                                             Contingent
690 Hilltop Drive                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Itasca                                 IL       60143           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.154    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,359.52
                                                                Check all that apply.
Pitney Bowes-Purchase Power                                      Contingent
P.O Box 371874                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15250-7874      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.155    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $77,106.42
                                                                Check all that apply.
Platinum Converting Inc                                          Contingent
851 Expressway Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Itasca                                 IL       60143           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.156    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $460.76
                                                                Check all that apply.
Practical Packaging Solutions, Inc.                              Contingent
544 Windy Point Drive                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Glendale Heights                       IL       60139           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.157    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $32,900.30
                                                                Check all that apply.
Precise Digital Printing, Inc                                    Contingent
880 Industrial Dr                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60106           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.158    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $20,137.78
                                                                Check all that apply.
Precision Die Cutting & Finishing Co                             Contingent
4027 W Le Moyne Street                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60651           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.159    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,231.52
                                                                Check all that apply.
Tri-County Preferred Garage Door Inc.                            Contingent
20115 W Coral Rd                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Marengo                                IL       60152           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.160    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $561.48
                                                                Check all that apply.
Premier Blanket Service                                          Contingent
Dept 4312                                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60122-4312      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                Amount of claim

  3.161     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $174,032.94
                                                                 Check all that apply.
Promontory Point                                                  Contingent
322 East Michigan Street                                          Unliquidated
Suite 500                                                         Disputed
                                                                 Basis for the claim:
Milwaukee                               WI       53202           Trade debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.162     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,586.00
                                                                 Check all that apply.
PromoVision                                                       Contingent
3 Federal Street                                                  Unliquidated
Suite 300                                                         Disputed
                                                                 Basis for the claim:
Billerica                               MA       01821           Trade debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.163     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $278.00
                                                                 Check all that apply.
PromoVision Palomino                                              Contingent
39567 Treasury Center                                             Unliquidated
                                                                  Disputed
                                                                 Basis for the claim:
Chicago                                 IL       60694-9500      Trade debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes

  3.164     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $11,252.39
                                                                 Check all that apply.
PSSTechnology LLC                                                 Contingent
8362 Tamarack Village                                             Unliquidated
STE 119                                                           Disputed
#330                                                             Basis for the claim:
Woodbury                                MN       55125           Trade debt

Date or dates debt was incurred                                  Is the claim subject to offset?

Last 4 digits of account number
                                                                  No
                                                                  Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.165    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $43,333.36
                                                                Check all that apply.
Quadient                                                         Contingent
470 Atlantic Avenue, 4th Floor                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boston                                 MA       02210           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.166    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $265.69
                                                                Check all that apply.
Quench (fka lMacke Water Systems, Inc.)                          Contingent
PO Box 781393                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Philadelphia                           PA       19178-1393      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.167    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Ray Perry                                                        Contingent
3 Kay Ct                                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lake in the Hills                      IL       60156           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.168    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $228.00
                                                                Check all that apply.
RealGraphix                                                      Contingent
795 Eagle Drive                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60106           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.169    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,143.30
                                                                Check all that apply.
Remke Printing INC                                               Contingent
225 Larkin Drive                                                 Unliquidated
Unit #7                                                          Disputed
                                                                Basis for the claim:
Wheeling                               IL       60090           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.170    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,343.44
                                                                Check all that apply.
Republic Services                                                Contingent
2101 S. Busse Rd.                                                Unliquidated
Mount Prospect, IL 60056-556666                                  Disputed
                                                                Basis for the claim:
                                                                Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.171    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,321.55
                                                                Check all that apply.
Rickard Circular Folding Co.                                     Contingent
325 N. Ashland Avenue                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60607           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.172    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $137.06
                                                                Check all that apply.
Ricoh USA Inc.                                                   Contingent
PO Box 802815                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60680-2815      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.173    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $743.12
                                                                Check all that apply.
Ricoh USA Program                                                Contingent
1738 Bass Road                                                   Unliquidated
PO Box 650016                                                    Disputed
                                                                Basis for the claim:
Macon                                  GA       31210-1043      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.174    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Robert M. Frank                                                  Contingent
1170 Liberty Ave                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cary                                   IL       60013           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.175    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,588.25
                                                                Check all that apply.
Royal Lithographers and Envelope                                 Contingent
4114 South Peoria Street                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60609-2521      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.176    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $16,720.25
                                                                Check all that apply.
RRD Marketing Solutions                                          Contingent
7810 SOLUTION CENTER                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60677-7008      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.177    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,303.49
                                                                Check all that apply.
RV Enterprises, Ltd.                                             Contingent
8926 N Greenwood                                                 Unliquidated
#16                                                              Disputed
                                                                Basis for the claim:
Niles                                  IL       60714           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.178    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,380.00
                                                                Check all that apply.
Salo, LLC                                                        Contingent
560 W. Washington Blvd.                                          Unliquidated
Suite 200                                                        Disputed
                                                                Basis for the claim:
Chicago                                IL       60661           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.179    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $450.00
                                                                Check all that apply.
Schlesinger Machinery Inc.                                       Contingent
820 Maple Lane                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60106           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.180    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $27,729.55
                                                                Check all that apply.
Semper/Exeter                                                    Contingent
1 Tiffany Pointe                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bloomingdale                           IL       60108           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.181    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,401.85
                                                                Check all that apply.
Service Envelope Corp.                                           Contingent
1925 Holste                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Northbrook                             IL       60062           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.182    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $869,000.00
                                                                Check all that apply.
Signature Bank                                                   Contingent
9701 W. Higgins                                                  Unliquidated
Suite 500                                                        Disputed
                                                                Basis for the claim:
Rosemont                               IL       60018           Balance on loan

Date or dates debt was incurred       1/22/2018                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.183    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $157.28
                                                                Check all that apply.
Smart Inc.                                                       Contingent
41W584 U.S. Highway 20                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Hampshire                              IL       60140           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.184    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,568.41
                                                                Check all that apply.
SnailWorks LLC                                                   Contingent
4510 Buckeystown Pike                                            Unliquidated
Suite M                                                          Disputed
                                                                Basis for the claim:
Frederick                              MD       21704           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.185    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $757.44
                                                                Check all that apply.
Sonitrol Chicagoland North                                       Contingent
Dept 9512                                                        Unliquidated
PO Box 30516                                                     Disputed
                                                                Basis for the claim:
Lansing                                MI       48909-8016      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.186    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,395.74
                                                                Check all that apply.
Spiral Binding Company Inc.                                      Contingent
P.O Box 6466                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-6466      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.187    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $20,000.00
                                                                Check all that apply.
Spot Migration                                                   Contingent
7370 N. Lincoln Ave., Suite B                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lincolnwood                            IL       60712           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.188    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,315.82
                                                                Check all that apply.
Sprint Electrical Service, Inc                                   Contingent
1575 Jarvis Avenue                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60007           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.189    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $27,203.67
                                                                Check all that apply.
Stylerite Label Corporation                                      Contingent
2140 Avon Industrial Drive                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Rochester Hills                        MI       48309           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.190    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $94,237.93
                                                                Check all that apply.
Suburban Mailing Services Inc                                    Contingent
2020 Swift Drive                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Oak Brook                              IL       60523-1578      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.191    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $155.00
                                                                Check all that apply.
Susie Olubo                                                      Contingent
1020 W. Lawrence Ave.                                            Unliquidated
#320                                                             Disputed
                                                                Basis for the claim:
Chicago                                IL       60640           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.192    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $13,531.60
                                                                Check all that apply.
TCF Equipment Finance                                            Contingent
11100 Wayzata Blvd                                               Unliquidated
Suite 801                                                        Disputed
                                                                Basis for the claim:
Minnetonka                             MN       55305           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.193    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,194.06
                                                                Check all that apply.
Team Concept Printing                                            Contingent
540 Tower Boulevard                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60188           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.194    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $478.00
                                                                Check all that apply.
TEC Lighting, Inc.                                               Contingent
115 Arovista Circle                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Brea                                   CA       92821-5068      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.195    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $43,645.01
                                                                Check all that apply.
TEKRA, a Division of EIS, Inc                                    Contingent
8084 Solutions Center                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60677-8000      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.196    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $279.00
                                                                Check all that apply.
The Fair Plumber                                                 Contingent
68 E. Northwest Hwy                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mount Prospect                         IL       60056           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.197    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $10,641.00
                                                                Check all that apply.
The Graphic Arts Studio, Inc.                                    Contingent
28 W 111 Commercial Ave                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Barrington                             IL       60010           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.198    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $160.00
                                                                Check all that apply.
The Hartford                                                     Contingent
P.O Box 660916                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75266-0916      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.199    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $685.76
                                                                Check all that apply.
The Label Printers                                               Contingent
PO Box 848                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Aurora                                 IL       60507           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.200    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,777.20
                                                                Check all that apply.
Timely Courier Den EI Enterprises, Inc.                          Contingent
2301 Arthur Ave                                                  Unliquidated
#100                                                             Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60007           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.201    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.14
                                                                Check all that apply.
Timothy Lyman                                                    Contingent
3540 Lakeview Dr                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Algonquin                              IL       60102           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.202    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $80.00
                                                                Check all that apply.
Tom W. Pollitt                                                   Contingent
Tom W Pollitt 337 E Village Dr                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
North Lake                             IL       60164           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.203    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $18,722.06
                                                                Check all that apply.
Toyo Ink America, LLC                                            Contingent
DEPT CH 19794                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-9794      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.204    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $17,375.18
                                                                Check all that apply.
Travelers CL Remittance Center                                   Contingent
PO Box 660317                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75266-0317      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.205    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,160.50
                                                                Check all that apply.
U.S. Postmaster                                                  Contingent
U.S. Postmaster                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
                                                                Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.206    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,000.00
                                                                Check all that apply.
U.S. Postmaster (Permit 32)                                      Contingent
U.S. Postal Service Permit #32                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
                                                                Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.207    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $17,711.24
                                                                Check all that apply.
ULINE                                                            Contingent
PO Box 88741                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60680-1741      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.208    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $8,645.35
                                                                Check all that apply.
UniFirst Corporation                                             Contingent
2045 North 17th Ave                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Melrose Park                           IL       60160           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.209    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,566.07
                                                                Check all that apply.
United Bindery Service                                           Contingent
1845 West Carroll Avenue                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60612-2589      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.210    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $12,197.55
                                                                Check all that apply.
Universal Laminating                                             Contingent
910 Carlow Dr                                                    Unliquidated
Unit G                                                           Disputed
                                                                Basis for the claim:
Bolingbrook                            IL       60440           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.211    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $54.97
                                                                Check all that apply.
UpDate LTD                                                       Contingent
134 Peavy Circle                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chaska                                 MN       55318           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.212    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $128.41
                                                                Check all that apply.
UPS/account 68812Y(520 loc)                                      Contingent
LOCKBOX 577                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60132-0577      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.213    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $47,798.56
                                                                Check all that apply.
V.G. Reed & Sons, Inc.                                           Contingent
1002 S 12th St                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Louisville                             KY       40210           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.214    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $22,617.36
                                                                Check all that apply.
Van Meter Mailing                                                Contingent
460 W. Hintz Rd.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Wheeling                               IL       60090           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.215    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,925.06
                                                                Check all that apply.
Veritas                                                          Contingent
913 Commerce Court                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Buffalo Grove                          IL       60089           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.216    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $209,042.35
                                                                Check all that apply.
Veritiv Operating Co.                                            Contingent
7472 Collection Center Dr.                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicigo                                IL       60693           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       The P.H.I. Group, Inc.                                                 Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.217    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,168.81
                                                                Check all that apply.
Victor Envelope                                                  Contingent
301 Arthur Court                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensenville                            IL       60106           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.218    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,117.86
                                                                Check all that apply.
Village of Mount Prospect                                        Contingent
50 S. Emerson                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mount Prospect                         IL       60056           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.219    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $260.00
                                                                Check all that apply.
Village of Prospect Heights                                      Contingent
8 N. Elmhurst Road                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Prospect Heights                       IL       60070           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.220    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $78.19
                                                                Check all that apply.
Vincent Atella                                                   Contingent
861 Wedgewood Circle                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lake in the Hills                      IL       60156           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       The P.H.I. Group, Inc.                                                 Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.221    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $2,080.26
                                                                Check all that apply.
W.E. Carlson Corp.                                               Contingent
1128 Pagni Drive                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Elk Grove Village                      IL       60007-6685      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.222    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $19,639.55
                                                                Check all that apply.
WAREHOUSE DIRECT                                                 Contingent
2001 S Mount Prospect Road                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Des Plaines                            IL       60018           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.223    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,010.47
                                                                Check all that apply.
Wex Bank                                                         Contingent
1 Hancock St.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Portland                               ME       04101           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.224    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $10,710.00
                                                                Check all that apply.
Workfront, Inc.                                                  Contingent
Dept CH 16712 Palatine, IL 60055-6712                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-6712      Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       The P.H.I. Group, Inc.                                                 Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.225    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $15,068.98
                                                                Check all that apply.
XO Communications Services                                       Contingent
500 Technology Drive                                             Unliquidated
Suite 550                                                        Disputed
                                                                Basis for the claim:
Weldon Spring                          MO       63304           Trade debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.226    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,745.60
                                                                Check all that apply.
Xtra Lease LLC                                                   Contingent
320 W. Touhy Ave.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Des Plaines                            IL       60018-2402      Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor        The P.H.I. Group, Inc.                                                       Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      American Credit Systems, Inc.                                         Line     3.199
         400 West Lake Street
                                                                                     Not listed. Explain:
         Suite 111
         P.O. Box 72849
         Roselle                       IL      60172-0849
         collection agency for The Label Printers

4.2      Caine & Weiner                                                        Line     3.154
         P.O. Box 55848
                                                                                     Not listed. Explain:




         Sherman Oaks                  CA      91413
         collection agency for Pitney Bowes-Purchase Power

4.3      CFM                                                                   Line      3.12
         P.O Box 674257
                                                                                     Not listed. Explain:




         Marietta                      GA      30006-0072
         collection agency for Aramark

4.4      CFM                                                                   Line      3.11
         P.O Box 674257
                                                                                     Not listed. Explain:




         Marietta                      GA      30006-0072
         collection agency for Aramark

4.5      Colleen G. Thomas                                                     Line     3.214
         30 N. Western Ave
                                                                                     Not listed. Explain:




         Carpentersville               IL      60110
         attorney for VanMeter Mailing and Platinum Converting legal actions




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 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                     related creditor (if any) listed?          account number,
                                                                                                                if any

4.6      Colleen G. Thomas                                           Line     3.155
         30 N. Western Ave
                                                                           Not listed. Explain:




         Carpentersville            IL    60110
         attorney for VanMeter Mailing and Platinum Converting legal actions

4.7      Credit Collection Services Commercial (C                    Line     3.204
         725 Canton Street
                                                                           Not listed. Explain:




         Norwood                    MA    02062
         collection agency for Travelers Casualty and Surety Company of America

4.8      CT Legal Collections                                        Line      3.36
         12225 Stephens Road
                                                                           Not listed. Explain:




         Warren                     MI    48089
         collection agency for Cavalry Logistics International

4.9      DAL, Inc.                                                   Line     3.226
         P.O. Box 162
                                                                           Not listed. Explain:




         Clifton Heights            PA    19018-0162
         collection agency for XTRA Lease LLC

4.10     DAL, Inc.                                                   Line      3.81
         P.O. Box 162
                                                                           Not listed. Explain:




         Clifton Heights            PA    19018-0162
         collection agency for XTRA Lease LLC

4.11     Donald Ratliff                                              Line

         580 TIMBERWOOD DRIVE
                                                                           Not listed. Explain:
                                                                            Notice Only


         LAKE ZURICH                IL    60047




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Debtor       The P.H.I. Group, Inc.                                                  Case number (if known)

 Part 3:       Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                        On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                         related creditor (if any) listed?          account number,
                                                                                                                    if any

4.12     Frontline Asset Strategies                                      Line     3.223
         2700 Snelling Ave. N.
                                                                               Not listed. Explain:
         Suite 250


         Roseville                  MN        55113
         collection agency for Wex Bank

4.13     Graham M. Liccardi                                              Line      3.21
         Teller, Levit & Silvertrust, P.C.
                                                                               Not listed. Explain:
         19 South LaSalle Street, Suite 701


         Chicago                    IL        60603


4.14     I.C. System, Inc.                                               Line      3.15
         444 Highway 96 East
                                                                               Not listed. Explain:
         P.O. Box 64378


         St. Paul                   MN        55164-0378
         collection agency for AT&T Midwest (BRIVO)

4.15     Illinois Department of Labor                                    Line

         160 N. LaSalle
                                                                               Not listed. Explain:
         Suite C-1300                                                           Notice Only
         attn: Felicia Beard
         Chicago                    IL        60601-3150
         contact for IDOL claims

4.16     Imelda Ocana                                                    Line
         800 BROOKLYN
                                                                               Not listed. Explain:
         Apt. 7                                                                 Notice Only


         STREAMWOOD                 IL        60107


4.17     Internal Revenue Service                                        Line

         Special Procedures - Insolvency
                                                                               Not listed. Explain:
         PO Box 7346                                                            Notice Only


         Philadelphia               PA        19101-7346




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 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                     related creditor (if any) listed?          account number,
                                                                                                                if any

4.18     Jacques Cortelyou Condon                                    Line     3.161
         118 N. Green Bay Road
                                                                           Not listed. Explain:




         Theinsville                WI    53092
         attorney for Port Advisors legal action

4.19     Jiang Yanling                                               Line
         233 S. Wacker Drive
                                                                           Not listed. Explain:
         floor 84                                                           Notice Only


         Chicago                    IL    60606
         attorney for Mark Kenny legal action

4.20     Julio Hernandez                                             Line
         654 SOUTH MERLE LANE
                                                                           Not listed. Explain:
                                                                            Notice Only


         WHEELING                   IL    60090


4.21     Massachusetts Dept. of Revenue                              Line

         100 Cambridge Street
                                                                           Not listed. Explain:
                                                                            Notice Only


         Boston                     MA    02114


4.22     Matt Brotschul                                              Line     3.182
         Brotschul Potts LLC
                                                                           Not listed. Explain:
         30 N. LaSalle St., Ste 1402


         Chicago                    IL    60602


4.23     Municipal Collection Services                               Line     3.219
         P.O. Box 327
                                                                           Not listed. Explain:




         Palos Heights              IL    60463-0327
         collection agency for Village of Prospect Heights




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Debtor       The P.H.I. Group, Inc.                                                 Case number (if known)

 Part 3:       Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                       On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                        related creditor (if any) listed?          account number,
                                                                                                                   if any

4.24     NCSPlus Incorporated                                           Line      3.26
         117 E. 24th Street
                                                                              Not listed. Explain:
         5th floor


         New York                      NY    10010
         collection agency for Bottcher America Corporation

4.25     Pedro Bribiescas                                               Line
         2831 N RUTHERFORD
                                                                              Not listed. Explain:
                                                                               Notice Only


         CHICAGO                       IL    60634


4.26     Receivables Control Corp.                                      Line      3.70
         7373 Kirkwood Court, Ste 200
                                                                              Not listed. Explain:




         Maple Grove                   MN    55369


4.27     Revenue Assurance Partners                                     Line      3.62
         19399 Helenberg Road
                                                                              Not listed. Explain:
         Suite 5 & 6


         Covington                     LA    70433
         collection agency for Diamond Healthcare Communications

4.28     Scott Glover                                                   Line
         976 MARGARET STREET
                                                                              Not listed. Explain:
                                                                               Notice Only


         DES PLAINES                   IL    60016


4.29     Taft Stettinius & Hollister                                    Line     3.136
         111 E. Wacker Drive
                                                                              Not listed. Explain:
         suite 2800


         Chicago                       IL    60601
         attorney for Midland Paper legal action

4.30     Teller Levit & Silvertrust P.C.                                Line     3.203
         c/o Graham M. Liccardi
                                                                              Not listed. Explain:
         19 S. LaSalle St., Ste 701


         Chicago                       IL    60603


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Debtor       The P.H.I. Group, Inc.                                              Case number (if known)

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                     related creditor (if any) listed?          account number,
                                                                                                                if any

4.31     The Commercial Collection Corp. of NY, I                    Line     3.195
         34 Seymour Street
                                                                           Not listed. Explain:




         Tonawanda                  NY     14150
         collection agency for Tekra LLC

4.32     The Commonwealth of Massachusetts                           Line
         Office of Labor and Workforce Dev.
                                                                           Not listed. Explain:
         Dept. of Unemployment Assistance                                   Notice Only
         19 Staniford St., Charles F. Hurley Bldg
         Boston                     MA     02114


4.33     The Receivable Management Services LLC                      Line      3.78
         P.O. Box 19646
                                                                           Not listed. Explain:




         Minneapolis                MN     55419
         collection agency for FedEx Freight




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Debtor      The P.H.I. Group, Inc.                                            Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                 $10,441.01

5b. Total claims from Part 2                                                              5b.   +          $6,422,102.95


5c. Total of Parts 1 and 2                                                                5c.              $6,432,543.96
    Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:
 Debtor name         The P.H.I. Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number                                                  Chapter       7                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Building lease                                  BMF Properties LLC
          or lease is for and the
                                                                                        555 E. Business Center Dr.
          nature of the debtor's
          interest

          State the term remaining      60 months
          List the contract
          number of any
                                                                                       Mount Prospect                      IL            60056
          government contract

2.2       State what the contract       5 black & white digital print                   Canon Solutions America (fka Oce)
          or lease is for and the       machines                                        12379 Collections Center Drive
          nature of the debtor's
          interest

          State the term remaining      35 months
          List the contract
          number of any
                                                                                       Chicago                             IL            60693
          government contract

2.3       State what the contract       Warehouse lease                                 Chicago Dry TT, LLC
          or lease is for and the
                                                                                        9450 W. Bryn Mawr
          nature of the debtor's
          interest                                                                      Suite 750

          State the term remaining      32 months
          List the contract
          number of any
                                                                                       Rosemont                            IL            60018
          government contract

2.4       State what the contract       PRINECT MIS workflow system,                    Heidelberg USA, Inc.
          or lease is for and the       plates & coatings                               PO Box 5160
          nature of the debtor's
          interest                                                                      Carol Stream, IL

          State the term remaining      18 months
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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Debtor        The P.H.I. Group, Inc.                                               Case number (if known)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.5        State what the contract      Lease - HP Indigo 7900 4-color digital Hewlett Packard Financial Services Co,
           or lease is for and the      print machine                          200 Connell Drive
           nature of the debtor's
           interest                                                              Suite 5000

           State the term remaining     54 months
           List the contract
           number of any
                                                                                 Berkeley Heights                NJ         07922
           government contract

2.6        State what the contract      Lease - HP Indigo 12000 4-color          Hewlett Packard Financial Services Co,
           or lease is for and the      digital print machine                    200 Connell Drive
           nature of the debtor's
           interest                                                              Suite 5000

           State the term remaining     54 months
           List the contract
           number of any
                                                                                 Berkeley Heights                NJ         07922
           government contract

2.7        State what the contract      MICR digital black & white printer       Konica Minolta Business Solutions USA
           or lease is for and the
                                                                                 Dept. CH 19188
           nature of the debtor's
           interest

           State the term remaining     60 months
           List the contract
           number of any
                                                                                 Palatine                        IL         60055-9188
           government contract

2.8        State what the contract      Server rental/storage                    Links Technology Solutions, Inc.
           or lease is for and the
                                                                                 440 E. State Parkway
           nature of the debtor's
           interest                                                              Suite 220

           State the term remaining     24 months
           List the contract
           number of any
                                                                                 Schaumburg                      IL         60173
           government contract

2.9        State what the contract      Lease on 2 trucks                        Penske Truck Leasing Co., L.P.
           or lease is for and the
                                                                                 PO Box 802577
           nature of the debtor's
           interest

           State the term remaining     36 months
           List the contract
           number of any
                                                                                 Chicago                         IL         60680-2577
           government contract

2.10       State what the contract      Data License - GMC data program          Quadient
           or lease is for and the      subscription                             470 Atlantic Avenue, 4th Floor
           nature of the debtor's
           interest

           State the term remaining     15 months
           List the contract
           number of any
                                                                                 Boston                          MA         02210
           government contract


Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 2
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Debtor        The P.H.I. Group, Inc.                                               Case number (if known)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.11       State what the contract      Office copier                            Ricoh USA Inc.
           or lease is for and the
                                                                                 PO Box 802815
           nature of the debtor's
           interest

           State the term remaining     24 months
           List the contract
           number of any
                                                                                 Chicago                         IL         60680-2815
           government contract

2.12       State what the contract      IT network/servers maintenance           Spot Migration
           or lease is for and the      contract                                 7370 N. Lincoln Ave.
           nature of the debtor's
           interest                                                              Suite B

           State the term remaining     30 months
           List the contract
           number of any
                                                                                 Lincolnwood                     IL         60712
           government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 3
                   Case 21-00212              Doc 1-2         Filed 01/08/21 Entered 01/08/21 14:43:12                              Desc
                                                            Schedules Page 79 of 80
 Fill in this information to identify the case:
 Debtor name         The P.H.I. Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Brian D. Bending                555 E. Business Center Drive                           Signature Bank                      D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       Mount Prospect                 IL      60056
                                       City                           State   ZIP Code


2.2    Brian D. Bending                555 E. Business Center Dr.                             Midland Paper                       D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       Mount Prospect                 IL      60056
                                       City                           State   ZIP Code


2.3    Michael P. Frank                555 E. Business Center Drive                           Signature Bank                      D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       Mount Prospect                 IL      60056
                                       City                           State   ZIP Code


2.4    Michael P. Frank                555 E. Business Center Dr.                             Midland Paper                       D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       Mount Prospect                 IL      60056
                                       City                           State   ZIP Code


2.5    Thomas A. Meitzler              555 E. Business Center Drive                           Signature Bank                      D
                                       Number      Street
                                                                                                                                  E/F
                                                                                                                                  G

                                       Mount Prospect                 IL      60056
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
                  Case 21-00212            Doc 1-2        Filed 01/08/21 Entered 01/08/21 14:43:12                        Desc
                                                        Schedules Page 80 of 80
Debtor       The P.H.I. Group, Inc.                                                Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.6   Thomas A. Meitzler            555 E. Business Center Dr.                        Midland Paper                      D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    Mount Prospect              IL      60056
                                    City                        State   ZIP Code




Official Form 206H                                        Schedule H: Codebtors                                                  page 2
